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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

SHELTON D. WILLIAMS,                              )
                                                  )
         Plaintiff,                               )
                                                  )
vs.                                               )
                                                  )
ANDREW B. MILLER,                                 )
Serve: 402 E. Warrick                             )
       Owensville, IN 47665                       )
                                                  ) Cause No.: 3:19-cv-00089
and,                                              )
                                                  ) JURY TRIAL DEMANDED
VANGUARD SALES OF                                 )
EVANSVILLE, INC.,                                 )
Serve: Jody R. Cumbee                             )
       Registered Agent                           )
       816 Maxwell Ave.                           )
       Evansville, IN 47711                       )
                                                  )
         Defendants.                              )

                                           COMPLAINT

         Plaintiff Shelton D. Williams for his cause of action against Defendant Andrew B. Miller

and Defendant Vanguard Sales of Evansville, Inc. alleges as follows:

                          ALLEGATIONS COMMON TO ALL COUNTS

         1.      Plaintiff Shelton D. Williams (“Plaintiff”) is an individual citizen and resident of

the State of Louisiana.

         2.      Defendant Andrew B. Miller (“Defendant Miller”) is an individual citizen and

resident of the State of Indiana.

         3.      Defendant Vanguard Sales of Evansville, Inc. (“Defendant Vanguard”) is a

corporation organized and existing under the laws of the State of Indiana with its principal place

of business located in the State of Indiana.
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        4.      The Court has personal jurisdiction over Defendant Andrew B. Miller and the

Defendant Vanguard Sales of Evansville, Inc. because the tortious acts committed by the

defendants, described in more detail below, were committed in the State of Illinois.

        5.      The Court has subject matter jurisdiction over this matter because there is

complete diversity between Plaintiff and both defendants and because the amount in controversy

exceeds $75,000.00.

        6.      Venue is proper in this Court because the motor vehicle collision at issue in this

action, described in more detail below, occurred in Jefferson County, Illinois, which is within the

judicial district of the Court.

        7.      On March 15, 2017, Plaintiff was operating his motor vehicle eastbound on

Interstate Highway 64 near Highway Mile Marker 87, which is within Jefferson County, Illinois.

        8.      On that same date and at the same time, Defendant Miller was operating a motor

vehicle eastbound on Interstate Highway 64 near Highway Mile Marker 87, in Jefferson County,

Illinois, just behind Plaintiff’s motor vehicle.

        9.      On that same date and at that same time, Defendant Miller was an employee and

agent of Defendant Vanguard, which owned the vehicle being operated by Defendant Miller, and

Defendant Miller was operating the motor vehicle within the course and scope of his

employment by Defendant Vanguard.

        10.     On that same date and at that same time, Defendant Vanguard, by and through its

agent and employee Defendant Miller, caused the front of its motor vehicle to violently strike the

rear of Plaintiff’s motor vehicle.




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                                            COUNT I
                               (Negligence – Defendant Vanguard)

        11.    Plaintiff incorporates the allegations stated in Paragraphs 1 through 10 of this

Complaint as if restated in their entirety in this paragraph.

        12.    Defendant Vanguard, by and through its agent and employee Defendant Miller,

owed Plaintiff a duty to operate its motor vehicle in conformance with all laws, rules and

regulations governing the operation of motor vehicles and otherwise with the highest degree of

care.

        13.    Defendant Vanguard, by and through the actions of its agent and employee

Defendant Miller, breached its duties and was careless and negligent in one or more of the

following respects:

               a.      Defendant Vanguard failed to keep a careful lookout ahead to discover
                       Plaintiff’s motor vehicle;

               b.      Defendant Vanguard failed to stay awake while operating its motor
                       vehicle;

               c.      Defendant Vanguard operated its motor vehicle while drowsy and/or sleep
                       deprived;

               d.      Defendant Vanguard failed to maintain a safe distance between its motor
                       vehicle and Plaintiff’s motor vehicle, given the prevailing circumstances
                       and conditions;

               e.      Defendant Vanguard operated its motor vehicle at a rate of speed that was
                       high, excessive, dangerous and not reasonably safe under the prevailing
                       circumstances and conditions;

               f.      Defendant Vanguard failed to stop, slacken speed, turn, or swerve its
                       motor vehicle so to avoid the collision with Plaintiff’s motor vehicle,
                       despite the fact that Defendant Vanguard could have done so and thereby
                       avoided the collision;

               g.      Defendant Vanguard failed to give or sound any warning of its approach,
                       movement, turn, or proximity of its motor vehicle prior to the collision;
                       and

               h.      Defendant Vanguard otherwise allowed the front of its motor vehicle to


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                      strike the rear of Plaintiff’s motor vehicle.

       14.     As a direct and proximate result of the carelessness and negligence of Defendant

Vanguard, Plaintiff was thrown in and about his vehicle and thereby suffered the following

injuries, harms and damages:

               a.     Plaintiff sustained physical injuries to his left upper extremity, specifically
                      including his left shoulder, that required, require, and will in the future
                      continue to require medical care and treatment and which are permanent
                      and progressive;

               b.     Plaintiff suffered, suffers and will in the future continue to suffer physical
                      pain and mental anguish due to the aforementioned physical injury;

               c.     Plaintiff’s ability to use his left upper extremity has been, is, and will in
                      the future continue to be limited, impaired and diminished;

               d.     Plaintiff’s ability to work and to labor has been, is, and will in the future
                      continue to be impaired and diminished, resulting in past, present and
                      future lost wages and income;

               e.     Plaintiff’s ability to perform his normal, daily activities and other
                      activities which he previously performed has been, is and will in the future
                      continue to be limited, impaired and diminished; and

               f.     Plaintiff has incurred medical expenses for treatment and care which were
                      necessary due to the aforementioned physical injuries, and in the future
                      will be required to expend additional sums for the same, the exact amount
                      of which cannot be definitely ascertained at this time.

       WHEREFORE Plaintiff Shelton D. Williams respectfully prays for judgment against

Defendant Vanguard Sales of Evansville, Inc. in an amount in excess of $75,000.00 that is fair

and reasonable, and as otherwise supported by the evidence presented at trial, plus post-judgment

interest, plus his costs incurred herein, and for such other and further relief as the Court deems

just and proper under the above-stated facts.




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                                            COUNT II
                                  (Negligence – Defendant Miller)

       15.     Plaintiff incorporates the allegations stated in Paragraphs 1 through 10 of this

Complaint as if restated in their entirety in this paragraph.

       16.     Defendant Miller owed Plaintiff a duty to operate his motor vehicle in

conformance with all laws, rules and regulations governing the operation of motor vehicles and

otherwise with the highest degree of care.

       17.     Defendant Miller breached his duties and was careless and negligent in one or

more of the following respects:

               a.      Defendant Miller failed to keep a careful lookout ahead to discover
                       Plaintiff’s motor vehicle;

               b.      Defendant Miller failed to stay awake while operating his motor vehicle;

               c.      Defendant Miller operated his motor vehicle while drowsy and/or sleep
                       deprived;

               d.      Defendant Miller failed to maintain a safe distance between his motor
                       vehicle and Plaintiff’s motor vehicle, given the prevailing circumstances
                       and conditions;

               e.      Defendant Miller operated his motor vehicle at a rate of speed that was
                       high, excessive, dangerous and not reasonably safe under the prevailing
                       circumstances and conditions;

               f.      Defendant Miller failed to stop, slacken speed, turn, or swerve his motor
                       vehicle so to avoid the collision with Plaintiff’s motor vehicle, despite the
                       fact that Defendant Miller could have done so and thereby avoided the
                       collision;

               g.      Defendant Miller failed to give or sound any warning of his approach,
                       movement, turn, or proximity of his motor vehicle prior to the collision;
                       and

               h.      Defendant Miller otherwise allowed the front of his motor vehicle to strike
                       the rear of Plaintiff’s motor vehicle.




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       18.       As a direct and proximate result of the carelessness and negligence of Defendant

Miller, Plaintiff was thrown in and about his vehicle and thereby suffered the following injuries,

harms and damages:

                 a.     Plaintiff sustained physical injuries to his left upper extremity, specifically
                        including his left shoulder, that required, require, and will in the future
                        continue to require medical care and treatment and which are permanent
                        and progressive;

                 b.     Plaintiff suffered, suffers and will in the future continue to suffer physical
                        pain and mental anguish due to the aforementioned physical injury;

                 c.     Plaintiff’s ability to use his left upper extremity has been, is, and will in
                        the future continue to be limited, impaired and diminished;

                 d.     Plaintiff’s ability to work and to labor has been, is, and will in the future
                        continue to be impaired and diminished, resulting in past, present and
                        future lost wages and income;

                 e.     Plaintiff’s ability to perform his normal, daily activities and other
                        activities which he previously performed has been, is and will in the future
                        continue to be limited, impaired and diminished; and

                 f.     Plaintiff has incurred medical expenses for treatment and care which were
                        necessary due to the aforementioned physical injuries, and in the future
                        will be required to expend additional sums for the same, the exact amount
                        of which cannot be definitely ascertained at this time.

       WHEREFORE Plaintiff Shelton D. Williams respectfully prays for judgment against

Defendant Andrew B. Miller in an amount in excess of $75,000.00 that is fair and reasonable,

and as otherwise supported by the evidence presented at trial, plus post-judgment interest, plus

his costs incurred herein, and for such other and further relief as the Court deems just and proper

under the above-stated facts.

                                   JURY TRIAL DEMANDED

       Plaintiff Shelton D. Williams, pursuant to Fed. R. Civ. P. 28, hereby demands a jury trial

on all the issues, claims and causes of action alleged and raised herein that are triable to a jury,

under the law.



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